          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:08cr259-3


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                PRELIMINARY ORDER
                          )                  OF FORFEITURE
                          )
LAJARIKA BLAKENEY.        )
                          )



      THIS MATTER is before the Court on the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 118]. No response has been received

from the Defendant.



                            PROCEDURAL HISTORY

      On December 17, 2008, the Defendant was charged with conspiracy

to commit wire fraud, conspiracy to commit identity theft, wire fraud,

aggravated identity theft, and counterfeiting, in violation of 18 U.S.C.

§§1349, 1028(f), 1343, 1028A, and 513. [Doc. 3]. The indictment contains

a notice of forfeiture of

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       all currency and monetary instruments which were received
       during, involved in, or used or intended to be used to facilitate the
       crimes alleged in this bill of indictment, including ... the following,
       seized on May 28, 2008:

             a.    $125,000 worth of United States currency and
                   merchandise;
             b.    All stolen, forged and counterfeited securities;
             c.    All fake or forged identity documents;
             d.    All gift cards.

[Id., 13].

On March 23, 2009, the Defendant entered into a plea agreement with

Government pursuant to which she agreed to plead guilty to Count One,

conspiracy to commit wire fraud, and Count Thirteen, aggravated identity

theft. [Doc. 99]. The plea agreement contains the following provision:

       The defendant will truthfully disclose all monies, negotiable
       instruments, securities, or other things of value that are proceeds
       of or have been involved in, or have been used or intended to be
       used to facilitate a violation of state or federal law. The defendant
       further agrees to voluntarily forfeit said property to the United
       States.

                                           ...
       The defendant forfeits and otherwise waives any ownership right
       in all items seized during the investigation of the acts alleged in
       the Bill of Indictment including, but not limited to, all assets
       specifically listed in the Bill of Indictment and all assets listed in
       any separate list or consent order signed by the defendant.

[Id., at 8, 10].

       On April 2, 2009, the Defendant attended her Rule 11 hearing and

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entered her plea of guilty to Counts One and Thirteen. [Doc. 109]. The

Government thereafter moved for a preliminary order of forfeiture.

                                DISCUSSION

     Federal Rule of Criminal Procedure 32.2(b) provides in pertinent part:

     As soon as practicable after a ... plea of guilty ... is accepted, on
     any count in an indictment ... regarding which criminal forfeiture
     is sought, the court must determine what property is subject to
     forfeiture under the applicable statute. If the government seeks
     forfeiture of specific property, the court must determine whether
     the government has established the requisite nexus between the
     property and the offense. ... The court’s determination may be
     based on evidence already in the record, including any written
     plea agreement[.]

Fed.R.Crim.P. 32.2(b)(1).

     The introductory portion of the bill of indictment describes the

conspiracy as involving the theft of securities and identification documents

by certain members thereof and the purchase of the same by the

Defendant. These securities and identification documents were then used

to purchase merchandise at retail stores. Some of the items bought were

later returned and cash was received in exchange. The indictment also

alleges that the Defendant conspired with Latoya Blakeney and Shontavia

Barber who

     did open new bank accounts from Federal Deposit Insurance
     Corporation [] insured financial institutions, falsify names and forged

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      signatures on those stolen securities (checks) making them payable
      to the defendants, deposit stolen securities into those accounts as if
      they were legitimate, and then withdraw funds from those accounts,
      causing a loss to the bank.

[Doc. 3, at 2].

      The Defendant is charged in Count One with conspiracy to commit

wire fraud. By virtue of the introductory paragraphs, which are

incorporated into Count One, the Defendant has pled guilty to conspiracy

to commit wire fraud which affected financial institutions. 18 U.S.C.

§982(a)(2) provides that a court shall order a person convicted of

conspiracy to commit wire fraud affecting a financial institution to forfeit “to

the United States any property constituting, or derived from, proceeds the

person obtained directly or indirectly as the result of such violation.” 18

U.S.C. §982(a)(2)(A).

      In Count Thirteen, the Defendant has pled guilty to aggravated

identity theft. The provisions of 18 U.S.C. §982(a)(2) also apply to identity

theft and provide that any property constituting the proceeds of or derived

from identity theft are subject to forfeiture. 18 U.S.C. §982(a)(2)(B).

      In its motion, the Government specifically identifies gift cards which

were seized during the investigation on May 28, 2008. [Doc. 118, at 1].

These items were also included in the forfeiture notice of the indictment.

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[Doc. 3, at 13]. The Defendant has agreed in her plea agreement that

these items are to be forfeited. [Doc. 99, at 10]. Although it would have

been preferable for the Government to have included an allegation that

these specific items constituted or were derived from the proceeds the

Defendant obtained as a result of the crimes, the Court finds the

admissions of the Defendant in her plea agreement establish a nexus

between the property listed below and the offense. As a result, the Court

will enter a preliminary order of forfeiture as to those items.



                                     ORDER

       IT IS, THEREFORE, ORDERED that the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 117] is hereby GRANTED.

       IT IS FURTHER ORDERED that the following items are hereby

preliminarily forfeited to the United States for disposition according to law:

1.     Two (2) Visa gift cards;

2.     One (1) Best Buy gift card.

3.     One (1) Wal-Mart gift card.

       IT IS FURTHER ORDERED that the United States shall comply with

all applicable substantive and procedural provisions prior to seeking a final


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order of forfeiture and shall provide notice thereof to the Court.




                                       Signed: June 29, 2009




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